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 5

 6 Attorneys for Secured and Unsecured Creditor
   HELENA DEEDS
 7
                         UNITED STATES BANKRUPTCY COURT
 8

 9           CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION

10   In re                                        )   Case No.: 9:20-bk-10622-DS
                                                  )
11                                                )
     BRIGHAM H. FIELD,                            )   Chapter 11
12                                                )
                   Debtor.                        )
13                                                )   NOTICE OF APPEARANCE AND
                                                  )
14                                                )   REQUEST FOR SERVICE OF
                                                  )   PAPERS
15                                                )
     _________________________________            )
16

17 TO THE CLERK OF THE COURT, THE U.S. TRUSTEE, THE DEBTOR AND THE

18 ATTORNEYS OF RECORD HEREIN:
19           PLEASE TAKE NOTICE that Tuchman & Associates hereby appears as counsel
20 of record for Secured and Unsecured Creditor Helena Deeds (“Deeds”), under Federal Rule

21 of Bankruptcy Procedure (“FRBP”) 9010. Deeds also requests that the Court clerk serve

22 any notices enumerated under FRBP 2002 upon the following:

23
                        Aviv L. Tuchman
24                       atuchman@tuchmanlaw.net
25                      Michael C. Dicecca
                         mdicecca@tuchmanlaw.net
26                      Tuchman & Associates
                        6080 W. Pico Blvd.
27
                        Los Angeles, CA 90035
28                      Tel: (323) 653-7100
                        Fax: (323) 653-7400
                                                  1
                NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
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 1
            PLEASE TAKE FURTHER NOTICE that Deeds requests service of all orders and
 2
     notices of any petition, pleading, complaint, conference, hearing, application, motion,
 3
     request, or demand (collectively, the “Filings”), whether formal or informal, written or oral,
 4
     or transmitted or conveyed by mail, delivery, telephone, telecopy, or otherwise which affect
 5
     or seek to affect in any way any rights or interests of the entities to counsel listed at the
 6
     above address.
 7
            PLEASE TAKE FURTHER NOTICE that the filing of this Notice of Appearance
 8
     does not (a) waive Deeds’s rights to contest service of any Filing; (b) waive rights to have
 9
     any and all final orders in any and all non-core matters entered only after de novo review by
10
     a United States District Court; (c) waive rights to trial by jury in any proceeding as to any
11
     and all matters so triable; (d) waive rights to have the reference withdrawn by the United
12
     States District Court in any matter or proceeding subject to mandatory or discretionary
13
     withdrawal; (e) waive any rights, claims actions, defenses, setoffs, or recoupments all of
14
     which Deeds expressly reserves; or (f) constitute Deeds’s consent to the jurisdiction of the
15
     United States Bankruptcy Court for the Central District of California in any proceeding
16
     commenced in this case against or otherwise involving Deeds.
17

18
                   Dated: May 21, 2020         TUCHMAN & ASSOCIATES
19

20
                                               By: /s/ Aviv L. Tuchman
21                                             AVIV L. TUCHMAN
                                               Attorneys for Secured and Unsecured Creditor
22                                             HELENA DEEDS
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                                                   2
                NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
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                                   PROOF OF SERVICE OF DOCUMENT
 1

 2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
     is: Tuchman & Associates, 6080 W. Pico Blvd., Los Angeles, CA 90035.
 3 A true and correct copy of the foregoing document entitled (specify): NOTICE OF APPEARANCE AND
     REQUEST FOR SERVICE OF PAPERS will be served or was served (a) on the judge in chambers in
 4 the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

 5 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
     to controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 6 hyperlink to the document. On (date) 03/04/2019, I checked the CM/ECF docket for this bankruptcy case or

 7 adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
     receive NEF transmission at the email addresses stated below:
 8
             􀀁 D. Edward Hays ehays@marshackhays.com
 9           􀀁 United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
             􀀁 Brian D. Fittipaldi brian.fittipaldi@usdoj.gov
10
                                                                  Service information continued on attached page
11
   2. SERVED BY UNITED STATES MAIL: On (date) 03/04/2019, I served the following persons and/or
12 entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
   correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
13 as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no
   later than 24 hours after the document is filed.
14
             No manual recipients
15                                                                Service information continued on attached page
16 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION
   OR EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
17
   LBR, on ___________________, I served the following persons and/or entities by personal delivery,
18 overnight mail service, or (for those who consented in writing to such service method), by facsimile
   transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery
19 on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

20                                                                Service information continued on attached page
21 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

22
      May 21, 2020                      Rebecca E. Myers                  /s/ Rebecca E. Myers
23    Date                      Printed Name                              Signature

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                                                           3
                  NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
